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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

MOTIVA PATENTS, LLC                            §
                                               §
     Plaintiff,                                §
                                               §
v.                                             §
SONY CORPORATION, ET AL                        §
                                                          Case No. 9:18-cv-00180-JRG-KFG
                                               §
                                                          LEAD CASE
                                               §
FACEBOOK TECHNOLOGIES, LLC                     §
                                                          Case No. 9:18-cv-00178-JRG-KFG
                                               §
                                               §
HTC CORPORATION                                §
                                               §          Case No. 9:18-cv-00179-JRG-KFG
       Defendants.                             §

                                           ORDER

       The above-captioned cases are hereby ORDERED to be CONSOLIDATED for all

pretrial issues with the LEAD CASE, Cause No. 9:18-cv-00180. All parties are instructed to file

any future filings in the LEAD CASE. Individual cases remain active for trial.

     The Clerk is instructed to add the consolidated defendants into the Lead Case and their

corresponding Lead and Local Counsel only. Additional counsel may file a Notice of Appearance

in the Lead Case if they wish to continue as counsel of record in the lead consolidated action.

Counsel who has appeared pro hac vice in any member case may file a Notice of Appearance in

the Lead Case without filing an additional application to appear pro hac vice in the Lead Case.

Counsel who have not appeared in a member case at the point when it is consolidated into the Lead

Case should file a Notice of Appearance only in the Lead Case, and such Notice should state the

relevant member case.
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        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 19th day of December, 2018.




                                               ____________________________________
                                               RODNEY GILSTRAP
                                               UNITED STATES DISTRICT JUDGE




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